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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:14-CR-3015

vs.                                              TENTATIVE FINDINGS

ROSLAND STARKS,

                 Defendant.

       The Court has received the revised presentence investigation report in
this case. There are no motions for departure or variance. The defendant has
filed an objection (filing 171) to the presentence report.

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005), and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;

      (e)   depart from the advisory Guidelines, if appropriate, using pre-
            Booker departure theory; and
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     (f)   in cases where a departure using pre-Booker departure theory is
           not warranted, deviate or vary from the Guidelines when there is
           a principled reason justifying a sentence different than that
           called for by application of the advisory Guidelines, again without
           affording the Guidelines any particular or "substantial" weight.

2.   There are no motions that require resolution at sentencing. The
     defendant has filed an objection (filing 171) objecting to the presentence
     report in several respects, which the Court will discuss in turn

     (a)   The defendant objects to the two-level enhancement for a
           vulnerable victim pursuant to U.S.S.G. § 3A1.1(b)(1). That two-
           level enhancement applies "[i]f the defendant knew or should
           have known that a victim of the offense was a vulnerable victim,"
           who is defined as a victim of the offense of conviction "who is
           unusually vulnerable due to age, physical or mental condition, or
           who is otherwise particularly susceptible to the criminal
           conduct." Id., cmt. n.2.

           There is little dispute that the victims in this case were
           vulnerable within the meaning of § 3A1.1(b)(1). See generally
           United States v. Whitlow, 124 F.3d 218 (10th Cir. 1997)
           (unpublished table decision). But the defendant argues that
           "others devised and managed the conspiracy, that she had no
           knowledge of the characteristics of the victims, did not contact
           victims . . . and did not know that the victims were vulnerable
           victims . . . ." Filing 172 at 3. And when the defendant objects, it
           is the government's burden to prove the applicability of an
           enhancement by a preponderance of the evidence. See, United
           States v. Mustafa, 695 F.3d 860, 862 (8th Cir. 2012); United
           States v. Twiggs, 678 F.3d 671, 674 (8th Cir. 2012); United States
           v. Myers, 481 F.3d 1107, 1109-10 (8th Cir. 2007). The Court will,
           therefore, resolve this issue at sentencing.

     (b)   Based on the same facts, the defendant objects to the lack of a
           two-level downward adjustment pursuant to U.S.S.G. § 3B1.2(b),
           based on her allegedly minor role in the offense. Filing 172 at 3-4.
           To qualify for such an adjustment, the defendant must be "less
           culpable than most other participants." Id., cmt. n.5. The Court
           must determine the relevant conduct, and compare the
           defendant's actions against those of the other participants,
           evaluating her culpability in relation to the elements of the


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           offense. United States v. Pinkin, 675 F.3d 1088, 1090 (8th Cir.
           2012). And on this issue, the defendant has the burden of proof.
           Id. The Court will also resolve this issue at sentencing.

     (c)   The defendant objects to the presentence report's inclusion of
           only a two-level decrease for acceptance of responsibility. The
           defendant contends that the government agreed to move for
           reduction by one additional level pursuant to U.S.S.G. § 3E1.1(b).
           But that decrease is only available if the government moves for
           the reduction, the defendant qualifies for the initial two-level
           decrease under subsection (a), and "the offense level determined
           prior to the operation of subsection (a) is level 16 or greater[.]" Id.
           In this case, before the two-level reduction, the defendant's
           offense level was only 13. Therefore, the defendant does not
           qualify for the additional one-level reduction, and her objection to
           the contrary will be overruled.

     (d)   Finally, the defendant objects to a point being added to her
           criminal history calculation based on a 2002 conviction for
           criminal mischief, for which she was sentenced to 10 days in jail.
           The defendant argues that "[a] sentence imposed more than ten
           years prior to the commission of the instant offense is not
           counted." Filing 172 at 4. But that is not precisely what U.S.S.G.
           § 4A1.2(e) provides. Instead, a sentence of less than 1 year and 1
           month is counted if it "was imposed within ten years of the
           defendant's commencement of the instant offense[.]" Id. (emphasis
           supplied); see United States v. Delgado-Hernandez, 646 F.3d 562,
           566-67 (8th Cir. 2011). The prior sentence at issue here was
           imposed on July 9, 2002. The instant offense, as stated in Count I
           of the indictment, is a conspiracy that commenced "no later than
           on or about May 31, 2011[.]" Filing 51 at 1. Several of the overt
           acts specifically attributed to this defendant were committed in
           July and September 2011. Filing 51 at 4-5. The defendant pled
           guilty to Count I and admitted those overt acts at her change of
           plea hearing. Filing 113 at 19-20. There is, therefore, no basis to
           conclude that the prior sentence was not imposed within 10 years
           of the commencement of the instant offense. The defendant's
           objection in this regard will be overruled.

3.   Except to the extent, if any, that the Court has sustained an objection,
     granted a motion, or reserved an issue for later resolution in the



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     preceding paragraph, the parties are notified that the Court's tentative
     findings are that the presentence report is correct in all respects.

4.   If any party wishes to challenge these tentative findings, that party
     shall, as soon as possible (but in any event no later than three (3)
     business days before sentencing) file with the Court and serve upon
     opposing counsel an objection challenging these tentative findings,
     supported by a brief as to the law and such evidentiary materials as are
     required, giving due regard to the local rules of practice governing the
     submission of evidentiary materials. If an evidentiary hearing is
     requested, such filings should include a statement describing why a
     hearing is necessary and how long such a hearing would take.

5.   Absent timely submission of the information required by the preceding
     paragraph, the Court's tentative findings may become final and the
     presentence report may be relied upon by the Court without more.

6.   Unless otherwise ordered, any objection challenging these tentative
     findings shall be resolved at sentencing.

     Dated this 28th day of July, 2014.


                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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